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                                                       April 2, 2020

Hon. William M. Conley
U.S. District Court for the
Western District of Wisconsin
120 N. Henry St., Rm. 320
Madison, WI 53703

         Re:       Democratic National Committee et al. v. Bostelmann et al.
                   Case Nos. 3:20-cv-249; 3:20-cv-278; 3:20-cv-284 (consolidated)

Dear Judge Conley:

       The Commissioners and Administrator Wolfe have reviewed today’s Opinion and Order
[Case No. 3:20-cv-249, Dkt. No. 170] and would appreciate some clarification.
       Under Wisconsin Statute sec. 7.51 (3), “Immediately after the polls close the inspectors
except any inspector appointed under s. 7.30 (1) (b) shall proceed to canvass publicly all votes
received at the polling place.” Current law also states that election officials are required to tally
and post unofficial Election Night results under Wis. Stat. secs. 7.51(1) and (4)(c) and sec. 7.60.
        It is the interpretation of the of the Commission that, based on the Court’s Opinion and
Order, election night unofficial results should not be announced until April 13 at 4 PM or as soon
thereafter as votes can be tabulated. The Commission wishes to avoid changing results being
publicized each night during the tabulation period.
        In addition, the Commission is enjoined from enjoining Wis. Stat. § 6.87(2) as to “any
absentee voters who have provided a written affirmation or other statement that they were unable
to safely obtain a witness certification despite reasonable efforts to do so, provided the ballots are
otherwise valid.” Could the Court please clarify if this means: (1) Any voter who has submitted
such an affirmation or statement at the time the ballot is received in the municipal clerk’s office,
or (2) Any voter who submits such a statement prior to the ballot being tabulated?
         Thank you for your attention to these matters.




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                                              Sincerely,


                                              LAWTON & CATES, S.C.


                                              Electronically signed by Daniel S. Lenz
                                              Daniel S. Lenz
                                              Terry M. Polich
                                              Dixon R. Gahnz.
                                              Daniel P. Bach

DSL:cf
cc:    All counsel of record (via E-Filing)
